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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORID A

                      CASE NO . 05-80807-CIV-COHN/SNOW


AIRTIME MANAGEMENT, INC . ,

              Plaintiff ,

V .


TIME TECHNOLOGIES, INC ., et al . ,
                                                                   CI ~'F Er y 'AADDO X
                                                                  C Lcr.n U .S Di51 . CT
                                                                                         .
              Defendants .                                      S .D . OF FLA . FT . LAUD
                                                                                           .




                                 O R D E R

              THIS CAUSE is before the Court on counsel David Selingo' s

Motion to Appear Pro Hac Vice (DE 26) Being fully advised, it is

hereby

              ORDERED AND ADJUDGED that the motion is GRANTED . David

Selingo, Esquire, is hereby permitted to enter limited appearances

for purposes of representing the defendants                Time Technologies and

Joseph Bekanich        in this cause ; Wendell Locke, Esquire, is

designated as local counsel .

      T,v DONE AND ORDERED at Fort Lauderdale ,                              Florida, this

          day of January, 2005 .




                                       l   i.   t L•   . . i~   _       j      ~~ . i          L. i
                                   L RANA S . SNO W
                                   UNITED STATES MAGISTRATE JUDG E

Copies to :

See Attached Service List
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                               SERVICE LIS T

                    CASE NO . 05 - 80807-CIV - COHN/SNOW


Jeffrey Garber, Esq . (P and Local Counsel for Hoffman, Olson and
                                               Veytsman )

Gary Hoffman, Esq . (P)
Bradley Olson, Esq . (P)
Peter Veytsman, Esq . (P )
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Ms . Catherine Wade (MIA)
   Executive Service Administrato r




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